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PROB 12C (02/17)




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN

                   Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Santonio Tesaunt House                                    Case Number: 1:12CR00193-01

Name of Sentencing Judicial Officer: The Honorable Paul L. Maloney
                                     U.S. District Judge

Date of Original Sentence: January 4, 2013

Original Offense: Count 2: Felon in Possession of a Firearm; 18 U.S.C. § 922(g)(1)

Original Sentence: 84 months imprisonment and 3 years supervised release. Special Conditions: (1)
substance abuse testing and treatment; (2) no alcohol; (3) mental health treatment; (4) financial disclosure;
(5) 6 months location monitoring; (6) no cell phone without approval; (7) provide telephone bills; (8)
reside in approved residence; (9) no contact with gang members; (10) 6 months RRC. Special Assessment,
$100.00 (paid in full).

Type of Supervision: Supervised Release                 Date Supervision Commenced: November 6, 2018
                                                                      Expiration Date: November 5, 2021

Assistant U.S. Attorney: Timothy VerHey                                      Defense Attorney: Sean Tilton


                                     PETITIONING THE COURT

[X] To issue a warrant

The probation officer believes that the offender has violated the following conditions of supervision:

Violation Number 1

General Condition: The defendant shall not commit another federal, state or local crime.

On or about May 22, 2020, Mr. House committed the crime of Conspiracy to Distribute 5 Kilograms of
Cocaine, in violations of 21 U.S.C §§ 846 and 841(a)(1), and (b)(1)(A)(ii), a felony punishable by 10
years to life in prison, a $10,000,000.00 fine, and at least 5 years supervised release.

Violation Number 2

Standard Condition Number 7: The defendant shall refrain from the use of alcohol and shall not
purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia
related to any controlled substances, except as prescribed by a physician.

On or about May 22, 2020, Mr. House attempted to purchase cocaine.
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Violation Number 3

Standard Condition Number 1: The defendant shall not leave the judicial district without the
permission of the court or probation officer.

On or about May 22, 2020, Mr. House left the judicial district without the permission of the probation
officer, when he traveled to the Northern District of Illinois.

Violation Number 4

Standard Condition Number 9: The defendant shall not associate with any persons engaged in
criminal activity and shall not associate with any person convicted of a felony, unless granted
permission to do so by the probation officer.

On or about May 22, 2020, Mr. House associated with Dawayne Totten and Isaias Mandujano, persons
convicted of felony offenses, without permission of the probation officer.

Violation Number 5

Standard Condition Number 11: The defendant shall notify the probation officer within seventy-
two hours of being arrested or questioned by a law enforcement officer.

On or about May 22, 2020, Mr. House was arrested by the Drug Enforcement Agency (DEA) in Des
Plaines, Illinois, and failed to notify the probation officer of the arrest within seventy-two hours.

Nature of Noncompliance for Violations 1-5

According to the DEA investigative reports, on May 22, 2020, Messrs. Mandujano, House and Totten
planned to meet with an undercover agent to buy five to six kilograms of cocaine.

DEA surveillance was established at Mariano’s, located in Des Plaines, Illinois. The undercover agent
received a call from Mr. Mandujano indicating he was in the parking lot of Mariano’s. Mr. Mandujano
exited a black Cadillac vehicle and met with the undercover agent in the agent’s vehicle. After the
meeting, Mr. Mandujano went to the Best Western motel in Des Plaines. DEA agents observed Mr. House
meet with Mr. Mandujano. Agents then observed both Messrs. House and Totten get into the black
Cadillac with Mr. Mandujano and leave the Best Western motel to meet with the undercover agent.

On the way to meet with the undercover agent, a traffic stop was conducted on the black Cadillac and
Messrs. Mandujano, House and Totten were arrested.

DEA agents also observed a GMC Terrain rental vehicle circling the Best Western motel parking lot
numerous times. The vehicle was occupied by Brandon Parham and Chantel Layton. Agents initiated a
traffic stop on the vehicle and found $10,077.00 during a search of the vehicle.

Agents also observed Danesha Jones exit the motel and walk to the parking lot. Ms. Jones and Mr. Melvin
Tommy-Shawn-Kelly House (father of Santonio House) entered a rented Jeep vehicle and drove around
the motel parting lot several times. They stopped at a gas station and Mr. House’s father exited the vehicle


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and he noticed one of the unmarked squad cars. Mr. House’s father did not return to the vehicle and
walked back to the motel. Ms. Jones did not get any gas and moved the vehicle back to the motel. Mr.
House’s father was detained while agents approached Ms. Jones in the vehicle. Approximately
$165,000.00 was located in a drawstring knapsack bag located on the rear floorboard of the vehicle. Ms.
Jones later denied ownership of the money found in the vehicle.

In a post-Miranda statement, Mr. House told DEA agents he met Mr. Mandujano while he was in prison.
Mr. Mandujano told Mr. House he could get him kilogram quantities of cocaine. Mr. House believed the
cocaine supply was limited and it was selling for as much as $60,000.00 per kilogram. Mr. House thought
he could make some money if he invested in this cocaine deal. Mr. House supplied $20,000.00 of his own
money to purchase the cocaine. Mr. House planned to sell the cocaine in Detroit, Michigan, to make some
money. Mr. House was released without charges. An Assistant U.S. Attorney in the Northern District of
Illinois is reviewing the case for criminal charges against Mr. House.

Mr. House failed to report this law enforcement contact to the probation office. Additionally, criminal
records information reflects Messrs. Totten and Mandujano are persons convicted of felony offenses. Mr.
House did not receive permission from the probation officer to associate with either individual.

Previous Violations

      x     February 17, 2019: Modification of supervised release at the Impact hearing. The Court modified
            special condition number (8), reside in an approved residence and not reside or visit any public
            housing complexes.

      x     July 22, 2019: Report on Offender: Mr. House tested positive for marijuana while on location
            monitoring. Mr. House was referred to substance abuse treatment. The Court agreed with the
            recommendation for no court action.




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U.S. Probation Officer Recommendation:

The Supervised Release should be
    [X] revoked.

                                                I declare under penalty of perjury that the foregoing
                                                is true and correct.

                                                Executed on June 17, 2020


           Approved,                                Respectfully submitted,

 by        /s/ Scott M. Lopofsky                by /s/ Amy L. VanderVelde
           Scott M. Lopofsky                       Amy L. VanderVelde
           Supervisory U.S. Probation Officer      U.S. Probation Officer Specialist
           Date: June 17, 2020                     Date: June 17, 2020


THE COURT ORDERS:

‫܆‬           No Action
XX
‫܆‬           The Issuance of a Warrant
‫܆‬           The Issuance of a Summons
տ           Other



                                                         /s/ Paul L. Maloney
                                                       The Honorable Paul L. Maloney
                                                       U.S. District Judge
                                                         June 18, 2020
                                                       Date




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